  Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.495 Page 1 of 6
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                                                                          U.S. DISTRICT COURT

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 DP CREATIONS, LLC dba BOUNTIFUL
 BABY,
                                                 CONSENT JUDGMENT AND
       Plaintiff,                                PERMANENT INJUNCTION

 v.                                              Case No. 2:21-cv-00088-JNP-JCB

 REBORN BABY WORLD; SHENZHEN                     District Judge Jill N. Parrish
 QIANHAI TOPOLOGY INFORMATION                    Magistrate Judge Jared C. Bennett
 TECHNOLOGY CO., LTD.,

       Defendants.



       Before the court is the parties’ Stipulated Motion for Disbursal of Funds, Entry of Consent

Judgment, and Dismissal with Prejudice (the “Stipulated Motion”). ECF No. 54. Based upon the

Stipulated Motion, and for good cause shown, the court makes the following findings of fact and

conclusions of law:

                             FINDINGS AND CONCLUSIONS

       1.      The court incorporates and confirms the findings of fact and conclusions of law

from the court’s Order Granting Plaintiff’s Ex Parte Motion for a Temporary Restraining Order

and Asset Freeze (ECF No. 10) and the court’s Preliminary Injunction (ECF No. 22).

                                        THE PARTIES

       2.      Plaintiff DP Creations, LLC dba Bountiful Baby (“Bountiful Baby” or “Plaintiff”)

is a Utah limited liability company with a principal place of business at 2140 South 3600 West,

West Valley City, Utah 84119. Bountiful Baby does business in the District of Utah, has numerous
  Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.496 Page 2 of 6




employees and customers in the District of Utah, and has suffered injury in the District of Utah.

       3.      Defendants Reborn Baby World (“RBW”) and Shenzhen Qianhai Topology

Information Technology Co., Ltd. (“Shenzhen Topology”) (collectively, “Defendants”) operated a

website at the URL www.RebornBabyWorld.com and accepted payment for goods sold at that

website through PayPal account number **************9604.

       4.      Defendants’ products are not affiliated with Bountiful Baby but are apparently

counterfeit copies of genuine Bountiful Baby products and were unauthorized reproductions of

Plaintiff’s copyrighted images. Plaintiff alleged in its Complaint that the Defendants’ products

were unauthorized reproductions of its own products, as shown in the exemplary images below:

     Bountiful Baby Copyrighted Image                      Defendants’ Product Listing




                                JURISDICTION AND VENUE

       5.      The Defendants do not dispute that jurisdiction and venue are proper in this district.

                                        BACKGROUND

       6.      Bountiful Baby is the owner of U.S. Copyright Registration Nos. VA0002231276

                                                 2
  Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.497 Page 3 of 6




and VA0002231278 (the “Bountiful Baby Copyrights”). (See Complaint, Exs. A, B.) Bountiful

Baby’s copyrighted images and the Defendants’ product listings are shown below.

     Bountiful Baby Copyrighted Image                 Allegedly Infringing Listings at

                                                        www.rebornbabyworld.com




                                              3
Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.498 Page 4 of 6




                                   4
  Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.499 Page 5 of 6




       7.      In addition, the parties agree that the Defendants made certain representations and

advertisements regarding a connection between themselves and Bountiful Baby that were not

accurate, including the following:

               (1)    RebornBabyWorld.com dolls come from a toy studio in Utah.

               (2)    Defendants’ headquarters are located at 2150 South 3600 West, Salt Lake

                      City, Utah 84119 USA.

               (3)    Defendants’ address is 2150 South 3600 West, Salt Lake City, Utah 84119

                      USA.

               (4)    Defendants made unauthorized copies of photographs of Bountiful Baby’s

                      Utah manufacturing facility on their website.

                                 PERMANENT INJUNCTION

       8.      Defendants, their officers, agents, servants, employees, and all persons acting in

active concert or participation with them who receive actual notice of this injunction by personal

service or otherwise, are hereby permanently enjoined as follows:

       a.      Defendants are enjoined from producing, reproducing, distributing, copying, or

               using any graphic or pictorial representation protected by the Bountiful Baby

               Copyright Registration Nos. VA0002231276 and VA0002231278, or any

               substantially similar variation thereof, in connection with any product, packaging,

               product listing, or any other product sale.

       b.      Defendants are enjoined from making any false representation regarding their

               connection to the State of Utah, their connection to Bountiful Baby, the location of

               their toy studio in the State of Utah, or any other false or misleading representation

               regarding the State of Utah and Bountiful Baby in connection with any product,
                                                 5
  Case 2:21-cv-00088-JNP Document 61 Filed 08/06/21 PageID.500 Page 6 of 6




                packaging, product listing, domain name, business name, or any other form of

                product identification.

             c. Defendants are enjoined from making any false or misleading representation in

                violation of Utah’s Truth in Advertising Act, including (a) any representations that

                pass off their goods and services as those of Bountiful Baby, which causes a

                likelihood of confusion or misunderstanding; (b)      causes    a   likelihood    of

                confusion or misunderstanding as to the source, sponsorship, approval, or

                certification of goods or services; (c) causes   likelihood    of   confusion     or

                misunderstanding as to affiliation, connection, association with, or certification by

                Bountiful Baby; or (d) using any deceptive representations or designations of

                geographic origin in connection with their goods or services, in connection with

                any product, packaging, product listing, domain name, business name, or any other

                form of product identification.

       9.       All parties shall bear their respective attorneys’ fees and costs. The terms of the

Settlement Agreement between the parties and this Judgment are to be construed together.

       10.      The court shall maintain jurisdiction over this action for purposes of enforcement

of this Consent Judgment and Permanent Injunction between Plaintiff and Defendants.



       DATED August 6, 2021.

                                               BY THE COURT



                                               ______________________________
                                               Jill N. Parrish
                                               United States District Court Judge
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